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                                IN THE STATE COURT OF DEKALB COUNTY
                                          STATE OF GEORGIA
                VANIRA MILLINES                      )
                                                     )
                     Plaintiff,                      )                   21A01802
                vs.                                  ) CIVIL ACTION NO.:
                                                     )
                RIMING JIN and LFL                   )
                TRANSPORTATION INC.                  )
                                                     )
                     Defendants.                     )
                                                     )


                                                        SUMMONS

                TO THE ABOVE-NAMED DEFENDANT:

                       You are hereby summoned and required to file with the Clerk of said Court and
                serve upon the Plaintiff’s attorney, whose name and address is:

                          Nick Schnyder Law Firm
                          Rebecca M. Rea, Esq.
                          351 Atlanta St. SE
                          Marietta GA 30060
                          Phone: 404-902-3553

                an Answer to the Complaint which is herewith served upon you, within thirty (30) days
                after service of the summons upon you, exclusive of the day of service. If you fail to do
                so, judgment by default will be taken against you for the relief demanded in the Complaint.

                          Respectfully submitted April 13, 2021.

                                                                           /s/ Monique Roberts
                                                                     ______________________________
                                                                     Clerk of State Court
                                                                     DeKalb County, GA.


                                                              EXHIBIT "A"




                                                             1
                                                                                                                 STATE COURT OF
                                                                                                              DEKALB COUNTY, GA.
                                                                                                                  4/13/2021 6:24 PM
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                                IN THE STATE COURT OF DEKALB COUNTY
                                          STATE OF GEORGIA
                VANIRA MILLINES                      )
                                                     )
                     Plaintiff,                      )
                vs.                                  ) CIVIL ACTION NO.: 21A01802
                                                     )
                RIMING JIN and LFL                   )
                TRANSPORTATION INC.                  )
                                                     )
                     Defendants.                     )
                                                     )

                                 COMPLAINT FOR DAMAGES AND JURY DEMAND

                          COMES NOW, VANIRA MILLINES, hereinafter referred to as “Plaintiff,” by and

                through their undersigned counsel and files this, Complaint for Damages, against

                Defendant RIMING JIN and LFL TRANSPORATION INC., Defendants in this matter

                (hereinafter referred to as collectively as “Defendants”). Plaintiff shows the Court as

                follows:

                                              PARTIES AND JURISDICTION

                                                                 1.

                          Plaintiff is a resident of the State of Georgia and have been a resident of the State

                of Georgia at all times relevant to this case.

                                                                 2.

                          Defendant Jin is an individual and resident of Los Angeles California, and can be

                served at his residence at 321 WILLAPA LN, DIAMOND BAR, CA 91765-1355.

                                                                 3.

                          Defendant LFL TRANSPORTATION INC.is a foreign corporation existing under
                the laws of Georgia with its principal place of business in California and may be served
                through its registered agent, YONGCHAO HE, 21337 COTTONWOOD LN, WALNUT
                CA 91789 in Los Angeles County and is subject to the jurisdiction of this court.

                                                                 1
                                                                                                                     STATE COURT OF
                                                                                                                  DEKALB COUNTY, GA.

                                                            EXHIBIT "A"
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                                                               4.

                          Defendant LFL is a motor carrier.
                                                               5.

                          Defendant LFL is engaged in interstate trucking commerce.
                                                               6.

                          Defendant LFL’s United States Department of Transportation Carrier Number is
                2938910.
                                                               7.

                          At all times relevant Defendant LFL was licensed and insured in accordance with
                Federal Motor Carrier Safety Administration rules and regulations.
                                                               8.

                          Jurisdiction and venue are proper in this court as Plaintiff resides in Dekalb
                County pursuant to O.C.G.A. § 40-12-1.

                                                               9.

                          This Court has jurisdiction over the subject matter of this action and removal to

                federal court is improper pursuant to 28 U.S.C. 1441(b).

                                                       BACKGROUND
                                                               10.

                          Plaintiff realleges and incorporates the above paragraphs as fully set forth herein.
                                                               11.

                          On or about March 10, 2020, Plaintiff was traveling on I-20 westbound in
                Rockdale county Georgia in front of Defendants in a safe and proper manner.
                                                               12.

                          Defendant Jin was driving a commercial truck in furtherance and on behalf of
                Defendant LFL.




                                                                2


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                                                               13.

                          Defendant Jin was an employee, servant, and/or agent acting within the course
                and scope of duty for Defendant LFL.
                                                               14.

                          Defendant Jin was driving the subject commercial vehicle, was travelling too fast
                for conditions, and was distracted, failed to maintain lane, and struck Plaintiff’s vehicle,
                causing Plaintiff to come to uncontrolled rest against the barrier wall.
                                                               15.

                          Defendant Jin failed to keep a proper look out while changing lanes, failed to
                maintain his lane, and drove at unsafe speeds thereby violently striking the vehicle in which
                Plaintiff was traveling several times (hereinafter “the Collision”).
                                                               16.

                          As a result of the collision, Plaintiff suffered severe and permanent injuries.
                                                               17.

                          Defendant LFL is responsible for the negligence of Defendant Jin’s action
                pursuant to the doctrine of respondeat superior.

                                                           COUNT 1:
                                                          NEGLIGENCE

                                                               18.


                          Plaintiff realleges and incorporates the above stated paragraphs as fully set forth
                herein.
                                                               19.

                          At the time and occasion in question, Defendant Jin failed to follow the vehicles

                ahead of him at a safe distance, improperly applied his brakes, failed to maintain his lane,

                failed to keep a proper lookout as he changed lanes, and drove at unsafe speeds, drove,

                excessive hours, fell asleep at the wheel, texted while driving, and/or negligently struck

                Plaintiff, causing a violent collision.

                                                                3


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                                                                 20.

                          Defendants Jin and LFL owed a duty to Plaintiff to operate the vehicle being driven

                on behalf of LFL in an ordinary and prudent manner.

                                                                 21.

                          At the time and occasion in question, Defendants Jin and LFL breached their duty

                to Plaintiff by causing the subject collision.

                                                                 22.

                          Defendants Jin and LFL’s actions caused a violent collision resulting in property

                 damages and severe bodily injury to Plaintiff.

                                                                 23.

                          As a consequence of his negligent driving, Defendants Jin and LFL breached their

                duty of ordinary care to the automobile-driving public, and to Plaintiff in particular.

                                                                 24.

                          Plaintiff in no way contributed negligently to the incident in question.

                                                                 25.

                          Plaintiff experienced severe pain and suffering as a direct and proximate result of

                the collision.

                                                                 26.

                          Defendant Jin’s negligence, which constituted the actual and proximate cause of

                Plaintiff’s injuries, consisted of one or more of the following:

                          a)     Turning Movements, in violation of O.C.G.A. § 40-6-123;
                          b)     Failure to Maintain Lane, in violation of O.C.G.A. § 40-6-48;
                          c)     Following too Closely, in violation of O.C.G.A. § 40-6-49;
                          d)     Driving too Fast for Conditions, in violation of O.C.G.A. § 40-6-180;
                          e)     Failure to exercise due care in operating a motor vehicle in violation of
                                 O.C.G.A § 40-6-241;


                                                                 4


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                          f)     Failure to exercise that degree of care which is exercised by ordinary
                                 persons in the same or similar situation, in violation of O.C.G.A § 51-1-2;
                          g)     Failure to use ordinary care to avoid colliding with another vehicle;
                          h)     Failure to keep a proper lookout;
                          i)     Improper lane change;
                          j)     Failure to maintain control of their vehicle.; and/or
                          k)     other negligent and reckless acts and omissions as may be shown by the
                                 evidence and proven at trial.

                                                               27.

                          Defendant LFL is liable for at least one of the following tortious acts and omissions,

                which include, but are not necessarily limited to the following:

                          a)     Defendant LFL is liable under the doctrine of respondeat superior for the
                                 torts of its employees, servants, and agents, including Defendant Jin
                                 pursuant to O.C.G.A. § 51-2-2 as set forth below;
                          b)     Defendant LFL was negligent in its own right under the doctrine of
                                 negligent entrustment, negligent hiring, training, controlling, and/or
                                 supervising of its drivers;
                          c)     Defendant LFL had an affirmative duty to discover their driver’s driving
                                 records, prior traffic violations habitual recklessness, susceptibility? to
                                 negligent action, and driver’s medical history;
                          d)     Defendant LFL in the exercise of reasonable care should have known of
                                 any of their driver’s incompetence; and
                          e)     Defendant LFL negligently failed to inspect and maintain their vehicle.

                                                       COUNT 2
                                                   IMPUTED LIABILITY

                                                               28.

                          Plaintiff realleges and incorporates the above stated paragraphs as fully set forth
                herein.
                                                               29.

                          At the time of the subject collision, Defendant Jin was under dispatch for Defendant
                LFL.
                                                               30.

                          At the time of the subject collision, Defendant Jin was operating his vehicle on
                behalf of Defendant LFL.


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                                                               31.

                          Defendant LFL is an intrastate or interstate motor carriers, and pursuant to federal
                and state laws, is responsible for the actions of Defendant Jin in regard to the collision
                described in this complaint under the doctrine of lease liability, respondeat superior,
                agency or apparent agency.
                                                 COUNT 3
                                 NEGLIGENT HIRING, TRAINING & SUPERVISION

                                                               32.

                          Plaintiff realleges and incorporates the above stated paragraphs as fully set forth
                herein.
                                                               33.

                          Defendant LFL was negligent in hiring Defendant Jin and entrusting him/her to
                drive their vehicle on their behalf.
                                                               34.

                          Defendant LFL was negligent in failing to properly train Defendant Jin.
                                                               35.

                          Defendant LFL was negligent in failing to properly supervise Defendant Jin.
                                                               36.

                          Defendant LFL’s negligence in hiring Defendant Jin and entrusting him/her with
                driving a company vehicle and failing to train and supervise him/her properly was the sole
                and proximate cause of the collision, and Plaintiff’ resulting injuries.
                                                        COUNT 4
                                                   NEGLIGENCE PER SE

                                                               37.


                        Plaintiff realleges and incorporates the above numbered paragraphs as fully set
                forth herein.
                                                            38.


                          Defendant Jin and Defendant LFL’s negligence in the operation of the vehicle in

                                                                6


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                their possession violated at least one of the following: (a) O.C.G.A. § 40-6-123; (b)

                O.C.G.A. § 40-6-180; (c) O.C.G.A. § 40-6-49; (d) O.C.G.A. § 40-6-48; (e) O.C.G.A § 51-

                1-2; (f) O.C.G.A. § 40-6-241; (g) O.C.G.A. § 40-6-391; and/or (h) O.C.G.A. § 40-6-390,

                which constitutes negligence per se or negligence as a matter of law.

                                                             39.

                          Defendant Jin and Defendant LFL’s violated the above stated laws meant to protect

                innocent victims such as Plaintiff and to protect unnecessary auto collisions such as the

                one in this action.

                                                             40.


                          As a direct and proximate result of Defendant Jin and Defendant LFL’s negligence

                per se, Plaintiff suffered and/or will suffer from at least one of the following: physical

                injuries, mental anguish, past pain and suffering, present pain and suffering, future pain

                and suffering, past medical expenses, and future medical expenses. Plaintiff is entitled to

                recover all damages allowed under Georgia law as a result of Defendant Jin and Defendant

                LFL’s negligence per se.

                                                        DAMAGES

                                                             41.

                          As the direct and proximate result of Defendant Jin and Defendant LFL’s negligent

                conduct, Plaintiff was required to undergo medical care from treatment providers, and

                incurred special damages, which include medical expenses and lost wages, a specific

                amount to be proven at trial. Plaintiff will supplement additional information as it becomes

                available in accordance with Bryant v. Haynie, 216 Ga. App. 430 (1995). The total known

                medical specials to date are as follows:


                                                              7


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                Lost Wages -                                            =$          15,000.00 (est)
                Estimated Future Treatment -                            =$          50,000.00 (est)
                Always Care Physical Therapy -                          =$            3,550.00
                Always Care Nursing Service -                           =$              264.62
                MedSouth Surgical -                                     =$             TBD
                Barbour Orthopedics -                                   =$             TBD
                Dekalb Medical                                          =$         36,795.45
                Joy Chiropractic -                                      =$         10,560.00
                Piedmont Rockdale Hospital-                             =$           3,900.00
                Summit Radiology -                                      =$             116.00
                Walker Lake Emergency-                                  =$           1,416.00
                Dekalb Medical Center -                                 =$         37,795.45
                Benchmark Rehab Partners -                              =$         24,234.52
                Total Medical Specials -                                =$        162,334.59+
                                                               42.

                          As a direct and proximate result of Defendant Jin and Defendant LFL’s negligence,

                Plaintiff received personal injuries and required medical treatment. Because of these

                injuries, Plaintiff has incurred damages including, but not limited to, medical expenses for

                the treatment of his injuries.

                                                               43.

                          As a further direct and proximate result of Defendants’ negligence, Plaintiff has

                sustained physical pain and suffering as well as emotional distress, and Plaintiff will

                continue to suffer in the future.

                                                    PUNITIVE DAMAGES

                                                               44.

                          Plaintiff realleges and incorporates the above stated paragraphs as fully set forth

                herein.

                                                               45.

                          Defendant Jin and Defendant LFL’s actions of driving while tired, texting and

                driving, driving while distracted, and/or driving while affected by alcohol or drugs, were



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                wanton of care and/or grossly negligent, such that Defendants’ actions arose to a level as

                to justify the award of punitive damages pursuant to O.C.G.A. § 51-12-5.1.

                                                PRAYER FOR RELIEF


                        WHEREFORE, Plaintiff prays for the following:

                        a) That Plaintiff’s Complaint be filed, Summons issued, and service be affected

                            in accordance with the law;

                        b) For entry of judgment in Plaintiff’s favor and against Defendants, as

                            determined by a fair and impartial twelve-member jury for the following

                            claims: past, present and future medical expenses; past, present, and future pain

                            and suffering; and any other damages recoverable at law;

                        c) That Plaintiff be awarded general damages to fully compensate her for past,

                            present, and future pain and suffering in an amount to be determined by the

                            fair and enlightened conscience of the jury;

                        d) That Plaintiff be awarded special damages to fully compensate her for past,

                            present, and future medical expenses in an amount to be determined at or

                            before trial;

                        e) That Plaintiff be awarded all costs of bringing this action;

                        f) That process be issued requiring Defendants to answer according to law;

                        g) That punitive damages be awarded in an amount to be determined by the fair

                            and enlightened conscience of the jury; and

                        h) That Plaintiff be granted such further and other relief as this Court deems just

                            and proper.




                                                             9


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                        Respectfully submitted this 14 day of April, 2021.

                                                                       NICK SCHNYDER LAW FIRM, LLC




                                                                 By:
                                                                       Nicholas Schnyder, Esq.
                                                                       Georgia Bar No. 576115
                                                                       Attorney for Plaintiff
                351 Atlanta Street SE
                Marietta GA 30060
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